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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                  §    Chapter 11
                                        §
ALEXANDER E. JONES,                     §
                                        §
         Debtor.                        §    Case No. 22-33553 (CML)
                                        §




                       DEBTOR’S PLAN OF REORGANIZATION




Dated: December 15, 2023.            CROWE & DUNLEVY, P.C.

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                                               INTRODUCTION

        Alexander E. Jones proposes this Plan pursuant to Bankruptcy Code section 1121(a).
Reference is made to the Disclosure Statement, distributed contemporaneously herewith, for a
discussion of the Debtor’s history, business, assets, liabilities, resolutions of certain material
disputes, future business projections, liquidation analysis, risk factors, summary and analysis of
the Plan, and certain related matters. The Distributions to be made pursuant to this Plan to Holders
of Allowed Claims, in each of the Classes of Claims against the Debtor set forth in Article III of
this Plan, are set forth in Article V of this Plan.

     THE DEBTOR URGES ALL HOLDERS OF CLAIMS TO READ THIS PLAN AND
THE DISCLOSURE STATEMENT IN THEIR ENTIRETY. NO SOLICITATION MATERIALS
OTHER THAN THE DISCLOSURE STATEMENT AND ANY DOCUMENTS, SCHEDULES
OR EXHIBITS ATTACHED THERETO OR REFERENCED THEREIN HAVE BEEN
AUTHORIZED BY THE DEBTOR OR THE BANKRUPTCY COURT FOR USE IN
SOLICITING ACCEPTANCES OR REJECTIONS OF THIS PLAN.

                                           SUMMARY OF PLAN1

        The Plan provides for the reorganization of the Debtor and the payment of Allowed Claims
through: (a) the continued orderly liquidation of certain non-exempt assets of the Debtor; and (b)
the Debtor’s commitment to contribute substantial funds from his future income. More
specifically, the Debtor will contribute 100% of the Net Disposable Income of Free Speech
System, LLC (“FSS”) and 50% of the Debtor’s Plan Income over five (5) years and 25% of the
Debtor’s Plan Income over an additional five (5) years. As a result, all administrative claims,
priority claims, and secured claims will be paid in full, and unsecured creditors will receive a
substantial distribution (and significantly more than they would receive in a chapter 7 liquidation).

        The Plan also allows for unsecured creditors to opt in to a “settling class” allowing for
faster payment of their claims and repayment from certain exempt assets of the Debtor in exchange
for settlement of certain existing litigation claims. This settlement class facilitates the Plan and
benefits all stakeholders by resolving pending litigation that would otherwise be both costly and
time consuming for the Debtor and the bankruptcy estate. Finally, the Plan incentivizes the Debtor
to satisfy his obligations to fund the Plan as soon as possible, so as to accelerate payments to
creditors.

                                                   ARTICLE I:

                  DEFINITIONS, CONSTRUCTION, AND INTERPRETATION

        The capitalized terms used herein shall have the respective meanings set forth below. A
capitalized term used herein that is not defined in this Article shall have the meaning ascribed to
1
  This Summary is intended solely to provide an overview of the Plan. The Summary shall not be binding on the
Debtor, and in the event of any conflict between the Summary and any other provision of the Plan, such other provision
shall be controlling.


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that term, if any, in the Bankruptcy Code. The rules of construction contained in section 102 of
the Bankruptcy Code shall apply to the construction of the Plan. Whenever the context requires,
words denoting the singular number shall include the plural number and vice versa, and words
denoting one gender shall include the other gender and vice versa. All exhibits and schedules
attached to the Plan are incorporated herein.

       1.01.   “Administrative Claim” means any Claim for an Administrative Expense.

        1.02. “Administrative Expense” means any cost or expense of administration of this case
incurred on or before the Effective Date that is entitled to priority under section 507(a)(2) and
allowed under section 503(b) of the Bankruptcy Code, including, without limitation, Fee Claims
and all other claims for compensation or reimbursement of expenses to the extent allowed by the
Bankruptcy Court under the Bankruptcy Code, Cure Claims, and all fees and charges assessed
against the Debtor’s Estate under the Bankruptcy Code.

       1.03. “Allowance Date” means the date on which a Claim, an Administrative Claim, or
any Secured Claim becomes an Allowed Claim.

         1.04. “Allowed” means, when used with respect to a Claim (including any
Administrative Claim), or any portion thereof, a Claim, Administrative Claim, or any portion
thereof (a) that has been allowed by a Final Order, (b) that was listed in the Schedules as neither
disputed, contingent nor unliquidated and for which no timely Proof of Claim was filed, (c) for
which a Proof of Claim in a liquidated amount has been timely filed pursuant to the Bankruptcy
Code or as required by any Final Order of the Bankruptcy Court and as to which either (i) no
objection to its allowance has been filed on or before the Objection Deadline or within any other
period fixed by the Bankruptcy Code or a Final Order of the Bankruptcy Court or (ii) any objection
to its allowance has been settled, waived through payment, withdrawn, or denied by a Final Order
of the Bankruptcy Court, or (d) that is expressly allowed in a liquidated amount in the Plan. For
the avoidance of doubt, in order to have an Allowed Claim, Non-Electing Plaintiffs, or any
claimant with relief from the automatic stay to liquidate claims in state court must have a Final
Order in their case.

        1.05. “Avoidance Action” means any cause of action under any of sections 544, 545,
546, 547, 548, 549, 550, 551, or 553(b) of the Bankruptcy Code, which actions are waived except
as specified in the Plan.

       1.06. “Bankruptcy Case” means the Debtor’s Bankruptcy Case No. 22-33553 under
chapter 11 of the Bankruptcy Code.

       1.10. “Bankruptcy Code” means the Bankruptcy Reform Act of 1978, as amended, and
codified at title 11 of the United States Code.

        1.11. “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas, Houston Division, or such other court having jurisdiction over this case.

        1.12. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as
prescribed by the United States Supreme Court pursuant to section 2075 of title 28 of the United
States Code.

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         1.13. “Business Day” means any day on which commercial banks are open for business
  in Austin, Texas.

          1.14.   “Cash” means legal tender of the United States of America or Cash equivalents.

          1.15. “Cause of Action” means any cause of action or right to payment arising under
  federal, state, or common law, including Avoidance Actions, that the Debtor or the Estate may
  hold against any Person.

          1.16. “Claim” shall have the meaning provided in section 101(5) of the Bankruptcy
  Code.

          1.17.   “Class” means a category of holders of Claims as set forth in the Plan.

           1.18. “Collateral” means any property of the Debtor subject to a valid and enforceable
lien to secure the payment of a Claim.

         1.19. “Confirmation Date” means the date on which the Bankruptcy Court enters the
  Confirmation Order.

         1.20. “Confirmation Hearing” means the hearing held by the Bankruptcy Court
  pursuant to Bankruptcy Code section 1128 on confirmation of the Plan.

          1.21.   “Confirmation Order” means the order of the Bankruptcy Court confirming this
  Plan.

          1.22. “Creditor” shall mean the Holder of a Claim.

         1.23. “Cure Claim” means a Claim arising from the assumption of an Executory
  Contract under section 365(b) of the Bankruptcy Code.

          1.24. “Debtor” means Alexander E. Jones, and shall also include, where applicable,
  Jones from and after the Effective Date as reorganized pursuant to this Plan.

          1.25. “Disallowed” means, when used with respect to a Claim, a Claim or the portion
  thereof which, in a properly entered order of the Bankruptcy Court, is fully and finally (a) denied
  allowance, or (b) is estimated for purposes of payment or other Plan Distributions at zero ($0.00).
  Disallowed means, when used with respect to an Administrative Expense of a professional that is
  a Fee Claim, an Administrative Expense or portion thereof that is denied by the Bankruptcy Court
  or other court of competent jurisdiction or that is estimated by the Bankruptcy Court for purposes
  of payment or other Plan Distributions at zero ($0.00).

           1.26. “Discharge Date” means the date upon which the Court grants the Debtor a
  discharge upon the earlier of (i) the Debtor having satisfied his payment obligations under the Plan
  or (ii) all Allowed Claims shall have been paid.

          1.27. “Disclosure Statement” means the Disclosure Statement of Jones with respect to
  this Plan of Reorganization, as approved by the Court, as it may be altered, amended, or modified
  from time to time in accordance with the provisions of the Bankruptcy Code and the Bankruptcy
  Rules, together with any Exhibits thereto.
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         1.28. “Disputed” when used with respect to a Claim, means any such Claim that is listed
in the Debtor’s Schedules as disputed, contingent, or unliquidated, any Claim that is the subject of
an objection filed in the Bankruptcy Court, any Claim that is disputed by the Debtor in any
litigation, lawsuit, or adversary proceeding in the Bankruptcy Court or any other court of
competent jurisdiction, or any Claim that is not Allowed.

       1.29. “Distribution” means the property required by this Plan to be distributed to the
Holders of Allowed Claims.

       1.30. “Distribution Agent” means a person designated by the Debtor, with the consent
of the Electing Plaintiffs, who shall have the responsibilities set forth in Article 10 of the Plan.

      1.31. “Domestic Support Obligations” has the meaning provided in Section 101(14A) of
the Bankruptcy Code, as such obligations may be modified from time to time by a court of
appropriate jurisdiction.

        1.32. “Effective Date” means the first Business Day that is the later of fourteen (14) days
after the Confirmation Date of this Plan if the Confirmation Order is not stayed prior to such date
or, if the Confirmation Order is stayed, the first Business Day following the lifting, dissolution,
or removal of such stay.

         1.33. “Electing Plaintiffs” means those certain unsecured creditor parties who elect “Opt-
In Settlement” Claim Treatment under Class 5 by the Voting Deadline and vote in favor of the Plan.

       1.34. “Estate” means the Debtor’s estate in this case created pursuant to section 541 of
the Bankruptcy Code.

       1.35. “Executory Contract” means any prepetition executory contract or unexpired lease
governed by section 365 of the Bankruptcy Code.

        1.36. “Fee Application” means an application for the allowance of a Fee Claim.

         1.37. “Fee Claim” means a Claim by a Professional or any other party-in-interest
pursuant to sections 327, 328, 330, 331, 363, 503(b), or 1103 of the Bankruptcy Code or otherwise
relating to services performed after the Petition Date and prior to and including the Effective Date.

        1.38. “Final Decree” means the final decree entered by the Bankruptcy Court on or after
the Effective Date and pursuant to Bankruptcy Rule 3022.

          1.39. “Final Order” means (a) an order as to which the time to appeal, petition for
certiorari or move for reargument, rehearing, reconsideration, new trial, or to alter or amend
findings or judgment that has expired and as to which no appeal, petition for certiorari or other
proceedings for reargument, rehearing, reconsideration, new trial, or to alter or amend findings or
judgment shall then be pending or (b) in the event that an appeal, writ of certiorari, reargument,
rehearing, reconsideration, new trial, or motion to alter or amend findings or judgment thereof has
been sought, such order shall have been affirmed by the highest court to which such order was
appealed, or certiorari has been denied or from which reargument, rehearing, reconsideration, new
trial, or motion to alter or amend findings or judgment was sought, and the time to take any further
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appeal, petition for certiorari or move for reargument, rehearing, reconsideration, new trial, or to
alter or amend findings or judgment shall have expired, provided, however that no order shall fail
to be a Final Order solely because of the possibility that a motion pursuant to Rule 59 or Rule 60
of the Federal Rules of Civil Procedure may be filed.

        1.40.    “FSS” means Free Speech Systems, LLC.

        1.41.    “FSS Plan” means a plan under Chapter 11 Subchapter V of the Bankruptcy Code
for FSS.

         1.42. “General Unsecured Claims” means non-priority unsecured claims held by
  parties-in-interest.

         1.43. “Holder” means a Person who is the beneficial owner of a Claim. For purposes of
a Distribution, a Person must be a Holder as of the Initial Distribution Date. For purposes of voting
to accept or reject this Plan, a Person must be a Holder as of the Voting Record Date. A Holder
may transfer their claim to another Person for purposes of distribution.

         1.44. “Income Stream Payment” means (i) the Net Disposable Income of FSS as set forth in
Section 1.1.53 of the FSS Plan for the calendar year, which for the duration of the FSS Plan, shall mean the
projected unsecured creditor plan payments from FSS plus (ii) 50% of the Debtor’s Plan Income.

        1.45. “Lien” has the meaning provided in Bankruptcy Code section 101(37) and shall
include a “statutory lien” as defined in Bankruptcy Code section 101(53).

        1.46. “Minimum Annual Distribution” means, for each Electing Plaintiff, the Pro Rata
Share for such Plaintiff multiplied by $5.5 million.

         1.47. “Net Proceeds” means any amounts collected by the Debtor from any disposition
of any non-exempt property, after payment of all reasonable and customary costs and expenses
associated therewith which may be required to be paid under applicable law or agreement to
effectuate the receipt of such proceeds, including, without limitation, any reasonable attorney fees
not otherwise paid under the Plan as an Administrative Expense.

        1.48. “Non-Electing Payment” means, on an annual basis for a particular calendar year,
the Income Stream Payment, minus the distributions each Electing Plaintiff is entitled is entitled to
under the Plan.

          1.49. “Non-Electing Plaintiffs” means those certain unsecured creditor parties who do not elect
“Opt-In Settlement” Claim Treatment under Class 5 and will instead be treated as general unsecured
creditors under Class 6.

         1.50. “Non-Electing Pro-Rata Share” means the ratio, as a percentage, of a Non-
Electing Plaintiff’s Allowed Claim divided by the Allowed Claims of all Non-Electing Plaintiffs,
collectively.

        1.51. “Non-Exempt Asset Recovery” means the net proceeds from the sale of the Non-
Exempt Assets, whenever such assets are liquidated or monetized, including, for the avoidance of
doubt, any income tax refund owed to the Debtor as of the Petition Date.
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         1.52. “Non-Exempt Assets” means assets listed on the schedules of assets of the Debtor
(other than assets scheduled on Schedule C as exempt for which there is no pending exemption
objection), including, for the avoidance of doubt, any income tax refund owed to the Debtor as of
the Petition Date. Notwithstanding the foregoing, Non-Exempt Assets does not include the
Challenger, the Rolex Oyster Perpetual Date, or any ownership interests the Debtor holds in entities
and trusts, which the Debtor will retain post-confirmation.

         1.53. “Non-Tax Priority Claim” means any Claim that, if allowed, would be entitled to
priority in payment under Bankruptcy Code section 507(a) other than a Priority Tax Claim, an
Administrative Claim, or a Domestic Support Obligation.

        1.54. “Objection Deadline” means the date by which objections to Claims shall be filed
with the Bankruptcy Court and served upon the respective Holder(s) thereof as provided in section
10.02 of the Plan, which date shall be ninety (90) days after the Effective Date unless extended by
order of the Bankruptcy Court for good cause shown.

        1.55. “Opt-In Settlement Unsecured Claims” means the Claims held by those certain
Electing Plaintiffs who elect “Opt-In Settlement” Claim Treatment under Class 5.

         1.56. “Ordinary Course of Business” shall have the meaning given to such term as
utilized in Section 363(b) of the Bankruptcy Code.

        1.57. “Person” means and includes natural persons, corporations, limited partnership,
general partnerships, joint ventures, trusts, land trusts, business trusts, unincorporated
organizations, or other organizations, irrespective of whether they are legal entities, governments
and agencies and political subdivisions thereof or other entities.

        1.58.   “Petition Date” means December 2, 2022.

        1.59. “Plaintiff” means each of the following: Neil Heslin, Scarlett Lewis, Leonard
Poszner, Veronique De La Rosa, the Estate of Marcel Fontaine, David Wheeler, Francine Wheeler,
Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Sota, Carlee
Soto Parisi, Carlos M. Soto, Jilian Soto-Marino, William Aldenberg, William Sherlach, and Robert
Parker.

       1.60. “Plaintiff Pro Rata Share” means the ratio, expressed as a percentage, of a Plaintiff’s
Allowed Claim divided by the Allowed Claims of all Plaintiffs, collectively.

         1.61. “Plan” or “Plan of Reorganization” means this Plan of Reorganization either in
its present form or as it may hereafter be altered, amended, or modified from time to time.

        1.62. “Plan Income” means, on an annual basis, the amount of cash basis income of the
Debtor from all sources, including salary, equity distributions, unspecified donations, and other
sources net of direct expenses, after deducting estimated taxes, health insurance, and Domestic
Support Obligations as defined in the Bankruptcy Code.

        1.63. “Plan Term” shall mean the period from the Effective Date through 120 months
from the Effective Date.
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          1.64. “Priority Tax Claim” means any Claim against the Debtor that, if Allowed, would
 be entitled to priority in payment under section 507(a)(8) of the Bankruptcy Code.

          1.65. “Professional” means a Person defined as a professional person in sections 327 or
 1103 of the Bankruptcy Code who has been employed pursuant to an order of the Bankruptcy Court
 in this chapter 11 case and any professional seeking compensation or reimbursement of costs and
 expenses in connection with this chapter 11 case pursuant to section 503(b)(4) or 1129(a)(4) of the
 Bankruptcy Code.

        1.66. “Rejection Bar Date” means the day that is thirty (30) days after the entry of the
 Confirmation Order.

         1.67. “Rejection Damage Claim” means a Claim by a party to an Executory Contract
 with the Debtor that has been rejected by the Debtor pursuant to this Plan or a prior Final Order of
 the Bankruptcy Court entered in this case.

         1.68. “Rental Property” means that certain real property owned by the Debtor located
 in Travis County, Texas.

          1.69. “Secured Claim” means a Claim that is secured by a security interest in or a lien
 on property of the Estate to the extent of the value, as of the Effective Date or such other date
 established by the Bankruptcy Court, of such Claim Holder’s interest in the Estate’s interest in such
 property as determined by a Final Order of the Bankruptcy Court pursuant to section 506 of the
 Bankruptcy Code or as otherwise agreed upon in writing by the Debtor and the Claim Holder.
 Secured Claims shall include Claims secured by security interests or liens junior in priority to
 existing security interests or liens, whether by operation of law, contract, or otherwise, but solely
 to the extent of the value, as of the Effective Date or such other date established by the Bankruptcy
 Court, of such Claim Holder’s interest in the Estate’s interest in such property after giving effect to
 all security interests or liens senior in priority.
           1.70. “Secured Tax Claim” means a Claim by a governmental unit for the payment of a
tax assessed against property of the Estate and that is secured as of the Effective Date by a Lien
against such property, which Lien is valid, perfected and enforceable under applicable law and is not
subject to avoidance under the Bankruptcy Code or applicable non-bankruptcy law, but only to the
extent of the value of the property securing such Claim.

          1.71. “Schedules” means the schedules of assets and liabilities and the statement of
 financial affairs filed by the Debtor as required by section 521 of the Bankruptcy Code and
 Bankruptcy Rule 1007, as such schedules and statement have been or may be supplemented or
 amended.

          1.72. “United States Trustee” means the United States Trustee appointed under Section
 591, Title 28, United States Code to serve in the Southern District of Texas.

         1.73. “Unsecured Claim” means a Claim that is not a Secured Claim, an Administrative
 Claim, a Priority Tax Claim or a Non-Tax Priority Claim.

        1.74. “Voting Record Date” means the date on which an Order approving the Disclosure
 Statement under Section 1125 of the Bankruptcy Code is signed.
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                                         ARTICLE II:

                                  UNCLASSIFIED CLAIMS

     2.01.   Administrative Claims.

        (a)      Time for Filing Administrative Claims. The Holder of any Administrative
Claim that is incurred, accrued, or in existence prior to the Effective Date, other than (i) a Fee
Claim, (ii) an Allowed Administrative Claim, or (iii) a liability incurred in the Ordinary Course
of Business must file with the Bankruptcy Court and serve on all parties required to receive such
notice a request for the allowance of such Administrative Claim on or before thirty (30) days
after the Effective Date. Such request must include at a minimum (i) the name of the Holder of
the Claim, (ii) the amount of the Claim, and (iii) the basis of the Claim. Failure to timely and
properly file and serve the request required under this Section shall result in the Administrative
Claim being forever barred and discharged. Objections to such requests must be filed and served
pursuant to the Bankruptcy Rules on the requesting party and the Debtor within thirty (30) days
after the filing of the applicable request for payment of an Administrative Claim.

         (b)     Time for Filing Fee Claims. Any Person who holds or asserts an Administrative
Claim that is a Fee Claim shall be required to file with the Bankruptcy Court and serve on all
parties required to receive such notice a Fee Application within sixty (60) days after the Effective
Date. Failure to timely and properly file and serve a Fee Application as required under this
Section shall result in the Fee Claim being forever barred and discharged. No Fee Claim will be
deemed Allowed until an order allowing the Fee Claim becomes a Final Order. Objections to
Fee Applications must be filed and served pursuant to the Bankruptcy Rules on the Debtor and
the Person to whose application the objections are directed or made within thirty (30) days after
the filing of the Fee Application subject to objection. No hearing may be held on a specific Fee
Application until the foregoing objection period with respect to that Fee Application has expired.

        (c)    Allowance of Administrative Claims. An Administrative Claim with respect to
which a request for payment is required and has been properly filed pursuant to Section 2.01(a)
of the Plan shall become an Allowed Administrative Claim if no timely objection is filed. If a
timely objection is filed, the Administrative Claim shall become an Allowed Administrative
Claim only to the extent Allowed by a Final Order. An Administrative Claim that is a Fee Claim,
and with respect to which a Fee Application has been properly filed and served pursuant to
Section 2.01(b) of the Plan, shall become an Allowed Administrative Claim only to the extent
Allowed by a Final Order.

        (d)    Payment of Allowed Administrative Claims. Except to the extent that a Holder
of an Allowed Administrative Claim has been paid prior to the Effective Date with respect to
Administrative Claims against the Debtor, or agrees to a different treatment, each Holder of an
Allowed Administrative Claim (other than Allowed Administrative Claims incurred in the
Ordinary Course of Business, which are paid pursuant to Section 2.01(e) below) shall receive
from the Debtor, in full satisfaction, release and discharge of and exchange for such
Administrative Claim, and after the application of any retainer or deposit held by such Holder,
Cash equal to the Allowed amount of such Administrative Claim within ten (10) Business Days
after the Allowance Date with respect to such Allowed Administrative Claim.

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         (e)      Administrative Claims Incurred in the Ordinary Course of Business. Holders
 of Administrative Claims based on liabilities incurred in the Ordinary Course of Business of the
 Debtor during the Bankruptcy Case (other than Claims of governmental units for taxes or Claims
 and/or penalties related to such taxes, or alleged Administrative Claims arising in tort) shall not
 be required to file any request for payment of such Claims. Each Administrative Claim incurred
 in the Ordinary Course of Business of the Debtor will be paid by the Debtor pursuant to the
 terms and conditions of the transaction giving rise to such Administrative Claim, without any
 further action by the Holder of such Administrative Claim. The Debtor reserves and shall have
 the right to object before the Objection Deadline to any Administrative Claim arising, or asserted
 as arising, in the Ordinary Course of Business, and shall withhold payment of such claim until
 such time as any objection is resolved pursuant to a settlement or a Final Order.

       2.02.   Priority Tax Claims.

        Except to the extent that an Allowed Priority Tax Claim has been paid or otherwise satisfied
prior to the Initial Distribution Date (which shall occur only if reasonably determined by the Debtor
to be not material in amount with respect to the Debtor’s obligations under the Plan), each Holder
of an Allowed Priority Tax Claim, in full satisfaction, release, settlement, and discharge of and
exchange for such Claim, shall receive from the Debtor (a) deferred Cash payments over a period
not exceeding five (5) years after the Petition Date in an aggregate principal amount equal to the
Allowed amount of such Priority Tax Claim, plus interest, from the Petition Date through the date
such Claim is paid in full, on the unpaid portion thereof at the rate of interest determined under
applicable nonbankruptcy law as of the calendar month in which the Confirmation Date occurs, in
equal annual installments with the first payment to be due on the later of (i) the Initial Distribution
Date or (ii) five (5) Business Days after the date when a Priority Tax Claim becomes an Allowed
Priority Tax Claim, and subsequent payments to be due on each anniversary of the Initial
Distribution Date, or (b) such other less favorable treatment to which such Holder and the Debtor
agree in writing. Notwithstanding the foregoing, (a) any Claim or demand for payment of a penalty
(other than a penalty of the type specified in Bankruptcy Code section 507(a)(8)(G)) shall be
Disallowed pursuant to the Plan and the Holder thereof shall not assess or attempt to collect such
penalty from the Debtor or from any of the assets, and (b) provided that the Debtor has otherwise
complied with the terms and provisions of the Plan, the Debtor shall have the right to pay any
Allowed Priority Tax Claim, or any unpaid balance of such Claim, in full, at any time after the
Effective Date, without premium or penalty.

       2.03.   Domestic Support Obligations.

        On the Effective Date, the Debtor shall make any payments that may be required to comply
with any post-petition unfunded obligations on account of any Domestic Support Obligations, as
may be required for the Debtor to be current with respect to such Domestic Support Obligations
as of the Effective Date as required pursuant to section 1129(a)(14) of the Bankruptcy Code. After
the Effective Date the Debtor shall timely make all payments on account of Domestic Support
Obligations to the parties entitled to receive such payments, in each case at the times and in the
amounts required by the agreements and orders evidencing such Domestic Support Obligations,
as such agreements may from time to time be modified in accordance with applicable state law.

       2.04.   U.S. Trustee Fees.

       The Debtor shall continue to remit to the office of the United States Trustee all appropriate
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post confirmation monthly reports for all relevant time periods until the Bankruptcy Case is closed
by order of the Bankruptcy Court or converted to a case under chapter 7 of the Bankruptcy Code.
The Debtor shall pay to the United States Trustee the appropriate sum required pursuant to 28
U.S.C. § 1930(a)(6) for all quarters as applicable and shall continue to remit quarterly fee payments
based on all disbursements, until the Bankruptcy Case is closed by order of the Bankruptcy Court,
or converted to a case under chapter 7 of the Bankruptcy Code.

                                           ARTICLE III:

                                CLASSIFICATION OF CLAIMS
       3.01.   Introduction.

        All Claims, except Administrative Claims, are placed in the Classes set forth below. In
accordance with Bankruptcy Code section 1123(a)(1), Administrative Claims have not been
classified.

       The Plan contemplates separate Classes for the Debtor for voting and distribution purposes.
To the extent a Class contains one or more subclasses, each such subclass is deemed to be a
separate Class for all purposes under the Bankruptcy Code and the Plan.

        Except for the unclassified Claims discussed in Article II above, Section 3.02 of the Plan
sets forth a designation of Classes of all Claims in accordance with Bankruptcy Code section
1122(a). A Claim is classified in a particular Class only to the extent any portion of the Claim
qualifies within the description of the Class and is classified in a different Class to the extent any
portion of the Claim qualifies within the description of that different Class. If a Claim is acquired
or transferred, the Claim shall be placed in the Class in which it would have been placed if it were
owned by the original Holder of such Claim. A Claim is also placed in a particular Class for the
purpose of receiving Distributions only to the extent that such Claim is an Allowed Claim in that
Class, and such Claim has not been paid, satisfied or released before the Effective Date.

       3.02.   Claims Against the Debtor.

         (a)     Class 1: Non-Tax Priority Claims

         (b)     Class 2: Priority Tax Claims

         (c)     Class 3: Secured Claim of Bank of America

         (d)     Class 4: Secured Claim of Security Bank of Crawford

         (e)     Class 5: Unsecured “Opt-In Settlement” Claims

         (f)     Class 6: General Unsecured Claims

         (g)     Class 7: Administrative Convenience Claims




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                                            ARTICLE IV

               IDENTIFICATION OF UNIMPAIRED AND IMPAIRED CLAIMS

       4.01.    Unimpaired Claims

      Claims against the Debtors in Classes 1, 2, 3, and 4 are not impaired under the Plan, and
the Holders of those Claims are conclusively presumed to have accepted the Plan under
Bankruptcy Code section 1126(f) and are thus not entitled to vote on the Plan.

       4.02.    Impaired Claims

       Claims against the Debtor in Classes 5, 6, and 7 are impaired under the Plan, and the
Holders of those Claims are entitled to vote to accept or reject the Plan.

       4.03.    Controversy Concerning Impairment

       In the event of a controversy as to whether any Claim or any Class of Claims is impaired
under the Plan, the Bankruptcy Court will determine the controversy, after notice and a hearing.

                                            ARTICLE V

                                    TREATMENT OF CLAIMS

       5.01. Non-Tax Priority Claims – Class 1

        On or as soon as practicable after the later of (a) the Initial Distribution Date or (b) the
Allowance Date with respect to a Non-Tax Priority Claim, each Holder of such Allowed Non- Tax
Priority Claim shall receive from the Disbursing Agent, in full satisfaction, settlement, release, and
discharge of and in exchange for such Allowed Non-Tax Priority Claim, (y) Cash in an amount
equal to the Allowed amount of its Non-Tax Priority Claim, or (z) such other, less favorable
treatment to which such Holder and the Debtor agrees in writing. To the extent an Allowed Non-
Tax Priority Claim entitled to priority treatment under 11 U.S.C. §§ 507(a)(4) or (5) exceeds the
statutory cap applicable to such Claim, such excess amount shall be treated as a Class 6 General
Unsecured Claim against the Debtor.

       5.02. Priority and Secured Tax Claims – Class 2

        With respect to any Allowed Priority Tax Claim, to the extent not already paid or otherwise
satisfied, on or as soon as practicable after the later of (a) the Initial Distribution Date or (b) the
Allowance Date with respect to a Priority Tax Claim, each Holder of an Allowed Priority Tax
Claim shall receive from the Debtor in full satisfaction, settlement, release, and discharge of and
in exchange for such Allowed Priority Tax Claim, (x) Cash equal to the Allowed Amount
of its Allowed Priority Tax Claim, plus interest thereon at the rate provided under applicable non-
bankruptcy law pursuant to Section 511 of the Bankruptcy Code from the Petition Date through
the date such Claim is paid in full, or (z) such other, less favorable treatment as may be agreed
upon in writing by such Holder and the Debtor.

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        The Holder of a Secured Tax Claim for ad valorem taxes for any tax year from 2023 and
thereafter shall retain all rights and remedies for payment thereof in accordance with applicable
non-bankruptcy law.

        Notwithstanding any other provision of the Plan, each Holder of an Allowed Secured Tax
Claim shall retain its Lien on any Collateral that secures its Claim or the proceeds of such Collateral
(to the extent such Collateral is sold by the Debtor, free and clear of such Lien) to the same extent
and with the same validity and priority as such Lien held as of the Petition Date until (a) the Holder
of such Allowed Secured Tax Claim (i) has been paid Cash equal to the value of its Allowed
Secured Tax Claim and/or (ii) has received a return of the Collateral securing its Allowed Secured
Tax Claim, or (iii) has been afforded such other treatment as to which such Holder and the Debtor
have agreed upon in writing, or (b) such purported Lien has been determined by a Final Order to
be invalid or avoidable. To the extent that a Secured Tax Claim exceeds the value of the interest
of the Estate in the property that secured such Claim, such Claim shall be deemed Disallowed
pursuant to Bankruptcy Code section 502(b)(3).

        If the Debtor fails to timely make any payment to a Holder of an Allowed Secured Tax
Claim as required under Section 5.02 of the Plan, the affected Holder of an Allowed Secured Tax
Claim may send written notice of default to the Debtor. If the default is not cured within twenty-
one (21) days after notice of default is mailed, such Holder may proceed with any remedies for
collection of amounts due under applicable non-bankruptcy law without further order of the
Bankruptcy Court.

       5.03. Secured Claim of Bank of America – Class 3

        (a)    Allowance. The Allowed amount of the Class 3 Secured Claim shall be equal to
the aggregate of (1) $26,354.73, plus (2) accrued and unpaid interest at the Contract Rate from the
Petition Date until the Rental Property is sold and such claim is paid in full, less any payments
made on account of such Claim from and after the Petition Date that are required to be applied as
payments of principal pursuant to an Order of the Bankruptcy Court.

        (b)    Treatment. Except to the extent that the Holder of the Allowed Class 3 Secured
Claim agrees to less favorable treatment of such Allowed Class 3 Secured Claim, the Holder of
the Allowed Class 3 Secured Claim shall receive from the Debtor, in full satisfaction, settlement,
release, and discharge of and in exchange for such Allowed Class 3 Secured Claim, Cash in an
amount equal to such Allowed Class 3 Secured Claim on the later of (i) the Effective Date, or (ii)
the date the Rental Property is sold and the Debtor has received the Net Proceeds of such sale in
immediately available funds. As of the Effective Date, the Debtor’s obligations under the loan
documents giving rise to the Allowed Class 3 Secured Claim, shall be reinstated and Bank of
America shall retain its lien rights pending sale of the Rental Property and payment of the Class 3
Claim in full.

       5.04. Secured Claim of Security Bank of Crawford – Class 4

       (a)     Allowance. The Allowed amount of the Secured Claim of Security Bank of
Crawford shall be equal to the aggregate of (1) $80,161.04, plus (2) accrued and unpaid interest at
the Contract Rate from the Petition Date until the Effective Date, less any payments made on
account of such Claim from and after the Petition Date and applied to the principal amount of such
Claims as required by the Bankruptcy Code. Payments are currently being made in accordance
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with the relevant loan documents by FSS and are scheduled to continue under the FSS Plan.

        (b)    Treatment. From and after the Effective Date, the Debtor shall reinstate his existing
guarantor obligations under the applicable loan documents with respect to the Class 4 Claim of
Security Bank of Crawford, secured by the existing collateral, until such time as the loan
obligations are paid in full.

        5.05. “Opt-In Settlement” Unsecured Claims – Class 5

          (a)     Allowance. On the Effective Date, the Opt-In Settlement Unsecured Claims shall
  consist of the Claims of the Electing Plaintiffs. Such Claims shall be paid the greater of (x) their
  percentage share of the Minimum Annual Payment or (y) the Income Stream Payment on an
  annual basis over a five (5) year term, with a payment of 25% of the Debtor’s Plan Income over
  an additional five (5) years. Class 5 shall also receive 70% of the net proceeds from the sale of
  non-exempt assets. Each Electing Plaintiff shall have an Allowed Claim in the amount set forth
  to such person’s name on Exhibit A hereto (which shall be filed under seal). No further litigation
  with respect to conduct occurring on or prior to the Confirmation Date shall be pursued on behalf
  of Electing Plaintiffs against the Debtor or any related party. The Debtor may fully satisfy his
  obligations to the Holders of Allowed Class 5 Claims under the Plan at any time during the ten-
  year period following the Effective Date by paying the net present value of the remaining
  Minimum Annual Payment due to such Holders. The Disbursement Agent shall have reasonable
  audit and information rights with respect to the Debtor’s income information at the expense of
  the Electing Plaintiffs. In addition, in the event the Debtor’s payments exceed the Minimum
  Annual Payment for any year, such “overage” amount shall be carried forward for a maximum
  of two years thereafter to count towards the Minimum Annual Payment in those two years.

        (b)     Treatment. The Opt-In Settlement Unsecured Claims treatment shall be in full
 satisfaction, settlement, release, and discharge of and in exchange for such Allowed Claim. Such
 Claims shall be discharged after payment of ten (10) year term period unless such Claims are
 satisfied earlier. Should such Claims be satisfied sooner under the terms of the Plan, a discharge
 shall be granted at that time. Also, for each year the Plan is not in Default, 10% of each Opt-In
 Settlement Unsecured Claim shall be waived and forever discharged.

        5.06. General Unsecured Claims – Class 6

         Upon allowance of such Claims, after the resolution of any existing appeals or litigation of
such Claims, and except to the extent that a Holder of an Allowed General Unsecured Claim agrees,
under the terms of a writing executed by such Holder, to less favorable treatment of such Allowed
General Unsecured Claim, each Holder of an Allowed General Unsecured Claim shall receive from
the Debtor, in exchange for such Allowed General Unsecured Claim, the remaining percentage
share of the Income Stream Payment after Electing Plaintiffs are paid, for a period of five (5) years,
with a payment of the remaining pro-rata share of 25% of the Debtor’s Plan Income over an
additional five (5) years. Non-Electing Plaintiffs will be enjoined against collecting against the
Debtor during the term of the Plan; however, such Non-Electing Plaintiffs may, to the extent such
Holder has a non-dischargeable claim, collect against the Debtor’s assets, unless such Claim is
otherwise stayed, at the end of the ten (10) year period. However, any Claims of Non-Electing
Plaintiffs shall be reduced by any payments received by such claimants under the Plan.

        The initial Distribution to Holders of Allowed General Unsecured Claims shall be made
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by the Debtor within thirty (30) days of the Effective Date from cash available after payment of
the Allowed Administrative Claims (other than Administrative Claims in the Ordinary Course
of Business), Allowed Non-Tax Priority Claims, Allowed Priority and Secured Tax Claims, Opt-
In Settlement Unsecured Claims, and Administrative Convenience Claims, including, without
limitation, as may be permitted under Article 10 hereof.

       5.07. Administrative Convenience Claims – Class 7

        Each Holder of an Allowed Unsecured Claim in the amount of $5,000 or less, or such
Holders as agree to reduce their Claim to $5,000, shall receive from the Debtor, in full satisfaction,
settlement, release, and discharge of and in exchange for such Allowed Claim, a Cash payment on
the Effective Date in the full amount of such Allowed Claim. Insiders with Allowed Claims may
opt to settle their Claims to be paid as an Administrative Convenience Claims Holder, but such
Claim will be limited to $5,000, and be deemed fully satisfied upon payment of that amount.
                                           ARTICLE VI

          MEANS FOR EXECUTION AND IMPLEMENTATION OF THIS PLAN

       6.01.   The Settlement

        Pursuant to Bankruptcy Rule 9019 and section 1123(b)(3)(A) of the Bankruptcy Code, in
consideration for the classification, distribution, and other benefits provided under the Plan, upon
the Effective Date, the provisions of the Plan shall constitute a good-faith compromise and
settlement of the Opt-In Settlement Unsecured Claims, which shall be binding upon Persons
receiving Distributions under the Plan, the Debtor, and any other party treated under the Plan.

         As of the Effective Date, all litigation in any jurisdiction, including dischargeability
litigation and any appeals thereof, amongst Holders of Opt-In Settlement Unsecured Claims
including, without limitation, all litigation listed on Exhibit B, shall each be terminated with
prejudice and without further costs to any party, and all necessary parties shall execute and deliver
any related satisfactions of judgment or other documentation necessary to terminate such litigation
and release any related judgment liens arising in or on account of such matters. The Debtor and
the Holders of Opt-In Settlement Unsecured Claims agree that the resolution of such litigation
takes into account a good faith evaluation by all parties of the costs and merits of such litigation,
and that the dismissal of such ongoing litigation (including without limitation any pending appeals)
as set forth herein is a good faith reasonable resolution of such litigation, in exchange for the
consideration provided.

         Furthermore, the Debtor and the Holders of Opt-In Settlement Unsecured Claims mutually
agree not to disparage one another by publishing to any third party, whether verbally or in writing,
derogatory statements that could be construed as damaging or injurious to the other party’s
business, reputation, or property, and/or that are false. If any Holder of an Opt-In Settlement
Unsecured Claim breaches this term and causing financial injury to the Debtor, such party shall
forfeit all rights to receive the Minimum Annual Payment. If the Debtor breaches this provision,
and causes financial injury to any such Holder, such breach would be deemed a Plan default for
which remedies may be had pursuant to Section 13.03 of this Plan. The Court retains post-
confirmation jurisdiction to determine any such disputes.


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        Entry of the Confirmation Order shall constitute a determination by the Bankruptcy Court
  pursuant to Bankruptcy Rule 9019 that the terms and conditions of the foregoing settlement and
  the termination of all litigation (including, without limitation, any appeals) required thereunder is
  reasonable, and in the best interests of the Debtor, his Estate, and all Creditors of the Debtor and
  other parties in interest.

          6.02.   Sources of Cash and Terms of Payment for Plan Distributions

        The sources of Cash necessary for the Debtor to pay Allowed Claims that are to be paid in Cash
by the Debtor under the Plan will be: (a) the Cash of the Debtor on hand as of the Effective Date, minus
a reserve of $250,000 for reasonable living expenses; and (b) Net Proceeds from the sale of the Debtor’s
non-exempt assets; and (c) Cash generated or received by the Debtor after the Effective Date from any
other source.

        For meeting the minimum payment to “Opt-In Settlement Claims” of Electing Plaintiffs under
Class 5, funds from plan payments of FSS may be included for calculating this minimum, but are not
being relied upon for purposes of confirming this Plan.

        On the Effective Date, all Avoidance Actions will vest in the Debtor, and the Debtor will have
the exclusive right to prosecute, settle, or compromise all Avoidance Actions, in return for which the
Debtor or potential defendant shall make a Cash payment, which will be included within and comprise
a portion of the Cash generated or received by the Debtor after the Effective Date.

          6.03.   Payments.

         (a)     The Debtor shall remit payment of the following Allowed Claims in accordance
  with the limitations on the amount of such payments as set forth in the Plan, and the other terms
  and conditions of the Plan, as set forth below:

                  (i)    Administrative Claims, other than Administrative Claims Incurred
          in the Ordinary Course of Business as set forth in Section 2.01(e).

                  (ii)    Non-Tax Priority Claims as set forth in Section 5.01.

                  (iii)   Administrative Convenience Claims as set forth in Section 5.07.

                  (iv)    General Unsecured Claims as set forth in Section 5.06.

         (b)      The Debtor shall remit payment of the following Allowed Claims in accordance
  with the limitations on the amount of such payments as set forth in the Plan:

                  (i)      Administrative Claims Incurred in the Ordinary Course of Business
          as set forth in Section 2.01(e).

                  (ii)    Priority Tax Claims as set forth in Section 2.02.

                  (iii)   Domestic Support Obligations as set forth in Section 2.03.

                  (iv)    U.S. Trustee fees as set forth in Section 2.04.

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               (v)     Secured Tax Claims as set forth in Section 5.02

               (vi)    Secured Claim of Bank of America as set forth in Section 5.03.

               (vii)   Unsecured Claims of Opt-In Settlement Claimants as set forth in Section
                       5.05.
       6.04. Post Effective Date Management.

        The Debtor shall continue to manage and control his assets after the Effective Date, and to
the extent this Plan provides for the sale of the Debtor’s assets, the Debtor shall manage and control
the sale of such assets and shall liquidate such assets as expeditiously as reasonably possible,
consistent with the terms of this Plan and the goal of maximizing the value thereof for the benefit
of the Holders of Claims secured by a Lien on those assets and other stakeholders.

                                           ARTICLE VII

                        TREATMENT OF EXECUTORY CONTRACTS

       7.01.   General Treatment of Executory Contracts: Rejected

        The Plan constitutes and incorporates a motion under Bankruptcy Code sections 365 and
1123(b)(2) to (a) reject, as of the Effective Date, all Executory Contracts to which the Debtor is a
party, except for any Executory Contract that was terminated before the Effective Date or has been
assumed or rejected pursuant to an order of the Bankruptcy Court entered before the Effective
Date, and (b) assume all Executory Contracts identified in any schedule of assumed contracts that
may be included in the Plan Supplement.

        The Confirmation Order shall constitute an order of the Bankruptcy Court under
Bankruptcy Code sections 365 and 1123(b)(2) approving the rejection or assumption, as
applicable, of Executory Contracts pursuant to the Plan as of the Effective Date. Notice of the
Confirmation Hearing shall include the proposed Cure Amount with respect to any Executory
Contract that may be assumed under the Plan, and the Notice of the Confirmation Hearing shall
also notify all non-debtor parties to Executory Contracts that all Executory Contracts will be
rejected under the Plan except for any Executory Contract that was terminated before the Effective
Date or has been assumed or rejected pursuant to an order of the Bankruptcy Court entered before
the Effective Date, and any Executory Contracts identified in the Plan Supplement to be assumed.

       7.02.   Cure Payments and Release of Liability

        Except as otherwise provided in a Final Order, pursuant to Bankruptcy Code sections
365(a), (b), (c) and (f), all Cure Claims that may require payment under Bankruptcy Code section
365(b)(1) under any Executory Contract that is assumed pursuant to a Final Order shall be paid by
the Debtor as an Allowed Administrative Claim within fifteen (15) Business Days after such order
becomes a Final Order with respect to Cure Claims that are not Disputed or within fifteen (15)
Business Days after a Disputed Cure Claim is Allowed by agreement of the parties or a Final
Order. If a party to an assumed Executory Contract has not filed an appropriate pleading on or
before the date of the Confirmation Hearing disputing any proposed Cure Claim, the cure of any
other defaults, the promptness of the Cure Claim payments, or the provision of adequate assurance
of future performance, then such party shall be deemed to have waived its right to dispute such
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matters. Any party to an assumed Executory Contract that receives full payment of a Cure Claim
shall waive the right to receive any payment on a Class 6 General Unsecured Claim that relates to
or arises out of such assumed Executory Contract.

       7.03.   Bar to Rejection Claims

        If the rejection of an Executory Contract pursuant to Section 7.01 of the Plan gives rise to
a Claim by any non-Debtor party or parties to such Executory Contract, such Claim shall be forever
barred and shall not be enforceable against the Debtor, the Estate, or the agents, successors, or
assigns of the foregoing, unless a proof of such Claim is filed with the Bankruptcy Court and
served upon the Debtor on or before the Rejection Bar Date. Any Holder of a Claim arising out of
the rejection of an Executory Contract that fails to file a proof of such Claim on or before the
Rejection Bar Date shall be forever barred, estopped, and enjoined from asserting such Claim
against the Debtor, the Estate or any of their assets and properties. Nothing contained herein shall
extend the time for filing a proof of Claim for rejection of any Executory Contract rejected before
the Confirmation Date.

       7.04.   Rejection Claims

        Any Rejection Damage Claim arising from the rejection of an Executory Contract shall be
treated as a General Unsecured Claim pursuant to the Plan, except as limited by the provisions of
Bankruptcy Code sections 502(b)(6) and 502(b)(7) and mitigation requirements under applicable
law. Nothing contained herein shall be deemed an admission by the Debtor that such rejection
gives rise to or results in a Rejection Damage Claim or shall be deemed a waiver by the Debtor or
any other party in interest of any objections to such Rejection Claim if asserted.

                                          ARTICLE VIII

   CONDITIONS TO CONFIRMATION DATE AND EFFECTIVE DATE; EFFECT OF
                        PLAN CONFIRMATION

       8.01.   Conditions Precedent to Confirmation Date

       The occurrence of the Confirmation Date of the Plan is subject to satisfaction or waiver by
the Debtor of each of the following conditions:

        (a)     The Bankruptcy Court shall have entered a Final Order, in form and substance
 acceptable to the Debtor, approving the Disclosure Statement;

        (b)     The proposed Confirmation Order shall be in form and substance acceptable to
 the Debtor; and

         (c)     FSS Plan confirmation and Effective Date; and

         (d)     All of the schedules, documents, supplements and exhibits to the Plan shall have
 been filed in form and substance acceptable to the Debtor.

       8.02.   Conditions Precedent to the Effective Date

       The occurrence of the Effective Date is subject to the occurrence or waiver by the Debtor
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of each of the following conditions precedent:

         (a)     The Confirmation Date shall have occurred;

        (b)     The Confirmation Order shall have become a Final Order in form and substance
 acceptable to the Debtor; and

        The foregoing conditions to the Effective Date may be waived in whole or in part, but only
if waived by the Debtor, without notice to any other parties in interest or the Bankruptcy Court,
without any hearing or order of the Bankruptcy Court, and without any formal action other than
proceeding to consummate the Plan. Without limiting the foregoing, the Effective Date may occur
notwithstanding the pendency of an appeal of the Confirmation Order so long as there is no stay
in effect and the Debtor so elects in writing. The Effective Date may occur before the expiration
of time to take an appeal or to seek reconsideration of the Confirmation Order without the giving
of any notice to any objecting party, if the Debtor so elects in writing. In the event of any such
appeal, the Debtor or any other party in interest may seek the dismissal of such appeal on any
grounds. The failure of the Debtor to exercise any of the foregoing rights shall not be deemed a
waiver of any other rights, and each such right shall be deemed an ongoing right that may be
asserted at any time. The Debtor will file with the Bankruptcy Court, and serve a copy on all parties
in interest, a notice of the Effective Date within five (5) Business Days after its occurrence.

       8.03.   Consequences of Non-Occurrence of Effective Date

        If the Effective Date does not timely occur, the Debtor reserves all rights to seek an order
from the Bankruptcy Court directing that the Confirmation Order be vacated and/or that the Plan
be null and void in all respects. If the Bankruptcy Court enters an order vacating the Confirmation
Order, the time within which the Debtor may assume and assign, or reject, all Executory Contracts
not previously assumed, assumed and assigned, or rejected shall be extended for a period of thirty
(30) days after the date the Confirmation Order is vacated or as further extended by the Bankruptcy
Court.

                                           ARTICLE IX

               EFFECT OF PLAN CONFIRMATION AND EFFECTIVE DATE

       9.01.   Binding Effect

       From and after the Effective Date, the Plan shall be binding upon and inure to the benefit
of the Debtor, all former, present, and future Holders of Claims, and their respective successors
and assigns, and all other parties in interest in the Bankruptcy Case. Confirmation of the Plan
binds each Holder of a Claim to the terms and conditions of the Plan, whether or not such Holder
has accepted the Plan.

       9.02.   Vesting of Assets

        Except as otherwise provided in this Plan and the Confirmation Order, all property and
assets of the Debtor and the Estate shall vest in the Debtor in accordance with the terms of the
Plan, in each case free and clear of all Claims, Liens, encumbrances, charges and other interests.
Commencing on the Effective Date, the Debtor may deal with such property and assets and conduct

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his business without any supervision by, or permission from, the Bankruptcy Court or the Office
of the United States Trustee, and free of any restriction imposed on the Debtor by the Bankruptcy
Code or by the Bankruptcy Court during the Bankruptcy Case, other than any restrictions contained
in the Plan and the Confirmation Order.

       9.03.   Assertion of Causes of Action, Defenses and Counterclaims

        Except as set forth in the Plan or the Confirmation Order, effective as of the Effective Date,
with respect to the Debtor, without further action by any party, all Causes of Action, and all
defenses, counterclaims, setoffs, and rights related thereto, shall be and shall be deemed to be
vested in the Debtor. From and after the Effective Date, the Debtor shall have the exclusive right
to prosecute, settle, or compromise any Cause of Action vested in or transferred to the Debtor
under the Plan. Except to the extent otherwise set forth in the Plan, the Debtor shall retain and
may prosecute and enforce all other defenses, counterclaims, and rights that it has asserted or could
assert against or with respect to all Claims asserted against the Debtor or property of his Estate.
No claim, right, Cause of Action, or other asset shall be deemed waived or otherwise forfeited by
virtue of the Debtor’s failure to identify such property in the Schedules or the Disclosure Statement
unless otherwise ordered by the Bankruptcy Court.

        Except as provided in the Plan, nothing contained in the Plan or the Confirmation Order
shall be deemed to be a waiver or the relinquishment of any rights or Causes of Action that the
Debtor may have or which the Debtor may choose to assert on behalf of the Debtor’s Estate under
any provision of the Bankruptcy Code or any applicable nonbankruptcy law, including, without
limitation, (i) any and all Claims against any person or entity, to the extent such person or entity
asserts a crossclaim, counterclaim, and/or Claim for setoff which seeks affirmative relief against
the Debtor, and (ii) the turnover of any property of the Debtor’s Estate.

        Nothing contained in the Plan or the Confirmation Order shall be deemed to be a waiver or
relinquishment of any Claim, Cause of Action, right of setoff, or other legal or equitable defense
which the Debtor had immediately prior to the Petition Date, against or with respect to any Claim
left unimpaired by the Plan. The Debtor shall have, retain, reserve, and be entitled to assert all
such claims, causes of action, rights of setoff, and other legal or equitable defenses which the
Debtor had immediately prior to the Petition Date fully as if the Bankruptcy Case had not been
commenced, and all of the Debtor’s legal and equitable rights respecting any Claim left
Unimpaired by the Plan may be asserted after the Confirmation Date by the Debtor to the same
extent as if the Bankruptcy Case had not been commenced.

       9.04    Discharge of Debtor

        Except as expressly provided in this Plan or the Confirmation Order, all consideration
distributed under this Plan will be in exchange for, and in complete satisfaction, settlement,
discharge, and release of, all Claims against the Debtor of any nature whatsoever, whether
known or unknown, or against the assets or properties of the Debtor that arose before the
Effective Date. Except as expressly provided in this Plan or the Confirmation Order, on the
Discharge Date (and subject to its occurrence), entry of the Confirmation Order shall be deemed
to act as a discharge and release under Bankruptcy Code section 1141(d)(1)(A) of all Claims
against the Debtor and his assets, arising at any time before the Effective Date, regardless of
whether a proof of Claim was filed, whether the Claim is Allowed, or whether the Holder of the
Claim votes to accept the Plan or is entitled to receive a Distribution under the Plan, provided,
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however, that in no event shall occurrence of the Discharge Date discharge the Debtor from
any obligations remaining under the Plan as of the Discharge Date. No later than five (5)
business days after the occurrence of the Discharge Date, the Debtor shall file with the
Bankruptcy Court a notice of the occurrence of the Discharge Date, and serve such notice on
all creditors. In addition, following the occurrence of the Discharge Date, the Debtor shall file
a motion seeking entry of an order of discharge after notice and a hearing, which motion (and
the discharge) shall be granted upon a showing that the Debtor has made all payments required
under the Plan. Except as expressly provided in this Plan or the Confirmation Order, any Holder
of a discharged Claim will be precluded from asserting against the Debtor or any assets of the
Debtor any other or further Claim based on any document, instrument, act, omission,
transaction or other activity of any kind or nature that occurred before the Effective Date.
Except as expressly provided in this Plan or the Confirmation Order, and subject to the
occurrence of the Discharge Date, the Confirmation Order will be a judicial determination of
discharge of all liabilities of the Debtor to the extent allowed under Bankruptcy Code section
1141, and the Debtor will not be liable for any Claims and will only have the obligations that
are specifically provided for in this Plan. Notwithstanding the foregoing, nothing contained in
the Plan or the Confirmation Order shall discharge the Debtor from (i) any debt excepted
from discharge under Bankruptcy Code section 523 by Final Order of the Bankruptcy Court
unless the Holders of such Claims have agreed to same.

       Notwithstanding the foregoing, Allowed Claims of Electing Plaintiffs under Class 5 that
have selected Opt-In Settlement Unsecured Claims shall be discharged after either 1) payment
of claim treatment under Class 5 for the ten (10) year period or 2) payment of such Claims at
any time during the ten-year period following the Effective Date at the net present value of the
remaining amount due to such Holders. Such payment shall be in full satisfaction, settlement,
release and discharge of and in exchange for such Allowed Claim.

       Non-Electing Plaintiffs under Class 6 will be enjoined against collecting against the
Debtor during the term of the Plan; however, such Non-Electing Plaintiffs may collect against
the Debtor at the conclusion of the ten (10) year Plan period if they have a Final Order allowing
their Claim and finding such Claim non-dischargeable.

        9.05    Injunction

         Except as otherwise provided in the Plan, the Confirmation Order shall provide that from
and after the Effective Date with respect to the Debtor, all Holders of Claims, with the exception
of the Non-Electing Plaintiffs, against the Debtor are permanently enjoined from taking any of the
following actions against the Debtor, or any of his property on account of any such Claim: (a)
commencing or continuing in any manner or in any place, any action or other proceeding; (b)
enforcing, attaching, collecting, or recovering by any manner or means any judgment, award,
decree, or order; (c) creating, perfecting, or enforcing any encumbrance or Lien; (d) asserting a
setoff, subrogation, or recoupment of any kind against any debt, liability, or obligation due to the
Debtor; and (e) commencing or continuing, in any manner or in any place, any action that does
not conform to or comply with, or is inconsistent with, the provisions of this Plan; provided,
however, that nothing contained herein shall preclude such Persons from exercising their rights
pursuant to and consistent with the terms of this Plan or the Confirmation Order. If allowed by
the Bankruptcy Court, any Person injured by any willful violation of such injunction shall recover
actual damages, including costs and attorneys’ and experts’ fees and disbursements, and, in
appropriate circumstances, may recover punitive damages, from the willful violator.
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        The Non-Electing Plaintiffs shall be enjoined from taking action against the Debtor as set
forth above only for the term of the Plan.

        9.06    Term of Bankruptcy Injunction or Stays

        Unless otherwise provided herein or in an order of the Bankruptcy Court (including without
limitation the Confirmation Order), all injunctions or stays provided in the Bankruptcy Cases under
Bankruptcy Code section 105 or 362, or otherwise, and in existence on the Confirmation Date,
shall remain in full force and effect until the Effective Date, with respect to the Debtor. Upon the
Effective Date, the injunction provided in Section 9.05 of the Plan shall be effective.

       9.07     Effectuating Documents; Further Transactions; Timing

        The Debtor is authorized to execute, deliver, file, or record such contracts, instruments,
releases, and other agreements or documents and to take such actions as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of the Plan. All transactions
that are required to occur on the Effective Date under the terms of the Plan shall be deemed to have
occurred simultaneously, unless otherwise provided in the Plan.

                                            ARTICLE X

                        OBJECTIONS TO CLAIMS; DISTRIBUTIONS

       10.01. Objections to Claims

        Any party in interest, including the Debtor, may file objections to Claims (other than
Claims that have been previously Allowed or that are Allowed under the Plan). The Debtor (or
his designees, successors and assigns) are not obligated to object to any Claim but will nevertheless
have standing to object to any such Claim from and after the Effective Date, if they so elect.
Nothing in this Section is intended to limit the right of any party to object to Claims.

        10.02. Objection Deadline

         Except as set forth in Sections 2.01(a) and 2.01(b) of the Plan with respect to
Administrative Claims and Fee Claims, any objections to Claims must be filed no later than the
Objection Deadline. An objection to a Claim will be deemed properly served on the Holder thereof
if service is effected by any of the following methods: (a) in accordance with Federal Rule of Civil
Procedure 4, as modified and made applicable by Bankruptcy Rule 7004; (b) to the extent counsel
for a Holder is unknown, by first class mail, postage prepaid, on the signatory on the proof of
Claim or other representative identified on the proof of Claim or any attachment thereto; (c) by
first class mail, postage prepaid, on any counsel that has appeared on the behalf of the Holder in
the Bankruptcy Case; or (d) if no proof of Claim has been filed, by first class mail, postage prepaid,
on the Holder of such Claim at the address set forth in the Schedules.

       10.03.    Settlement of Objections to Claims

       From and after the Effective Date, the Debtor is authorized to approve compromises of all
Claims, Disputed Claims, and Liens pursuant to Bankruptcy Rule 9019(b) and to execute necessary
documents, including Lien releases (subject to the written consent of the party having such Lien)
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and stipulations of settlement, compromise, or release, without further order of the Bankruptcy
Court.

       10.04. No Interest on Claims

        Unless otherwise specifically provided for in the Plan or the Confirmation Order, post-
petition interest shall not accrue or be paid on Claims, and no Holder of a Claim shall be entitled
to interest accruing on or after the Petition Date. Additionally, and without limiting the foregoing,
interest shall not accrue or be paid on any Disputed Claim for the period from the Petition Date to
the date a Distribution is made when and if such Disputed Claim becomes an Allowed Claim. To
the extent any Holder of an Allowed Claim is entitled to interest accruing on or after the Petition
Date, such interest shall accrue and be payable at the applicable Contract Rate.
       10.05.   Setoffs by the Debtor; No Waiver

        Except as otherwise set forth in the Plan, the Debtor may but shall not be required to, set
off against or recoup from any Claim or any payment or Distribution to be made by the Debtor
pursuant to the Plan in respect of such Claim, any Claim or Cause of Action of any nature
whatsoever that the Debtor may have to the fullest extent permitted under applicable law. Any
dispute related to the setoff or recoupment rights of the Debtor shall be determined by the
Bankruptcy Court. Neither the failure to effect such a setoff or recoupment nor the allowance of
any Claim hereunder shall constitute a waiver or release by the Debtor of any such Claims or
Causes of Action that the Debtor may have against such Holder or any affiliate of such Holder.

       10.06. Procedures for Treating and Resolving Disputed and Contingent Claims

         (a)      No Distributions Pending Allowance. Notwithstanding any other provision of
 the Plan, Distributions shall be made only to Holders of Allowed Claims. No Holder of a Claim
 will receive any Distribution on account thereof until and to the extent that its Claim becomes
 an Allowed Claim. To the extent a Claim that is paid by the Debtor under the Plan is not a
 Disputed Claim but is held by a Holder that is or may be liable to the Debtor (in the first instance)
 on account of a Cause of Action, or which has not otherwise become an Allowed Claim, no
 payments or Distributions shall be made with respect to all or any portion of such Claim unless
 and until such Cause of Action has been settled, withdrawn, or determined by a Final Order or
 such other court having jurisdiction over the matter, or such Claim has otherwise been Allowed
 as set forth in the Plan.

        In determining the amount of a pro rata Distribution due to the Holders of Allowed Claims
 payable by the Debtor, the Debtor may, in his discretion, make the pro rata calculation as if all
 Claims of the applicable Class were Allowed in the full amount claimed or in the amount
 estimated under Section 10.06(b) hereof. The Debtor, in his discretion, may withhold
 Distributions otherwise due hereunder to the Holder of a Disputed Claim until the Objection
 Deadline, to enable the Debtor or any other party in interest to file a timely objection thereto.

         (b)    Claim Estimation. The Debtor may request estimation or limitation of any
 Claim pursuant to Bankruptcy Code section 502(c) regardless of whether that Claim was
 previously objected to or whether the Bankruptcy Court has ruled on any such objection;
 provided, however, that the Bankruptcy Court will determine (i) whether such Claims are subject
 to estimation pursuant to Bankruptcy Code section 502(c) and (ii) the timing and procedures for

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such estimation proceedings, if any. The Bankruptcy Court will retain jurisdiction to estimate
any Claim at any time during litigation concerning any objection to any Claim, including,
without limitation, during the pendency of any appeal relating to any such objection. If the
Bankruptcy Court estimates any Claim, the amount so estimated shall constitute either the
Allowed amount of such Claim or a maximum limitation on such Claim, as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount of
such Claim, the Debtor may pursue supplementary proceedings to object to the allowance of
such Claim. All of the aforementioned objection, estimation, and resolution procedures are
intended to be cumulative and not exclusive of one another. Claims may be estimated and
subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by the
Plan or the Bankruptcy Court.

      (c)   Distribution Reserve Accounts.

             (i)     On or after the Effective Date, the Debtor may create one or more separate
     Distribution Reserve Accounts as is appropriate from the Cash to be distributed to or for
     the benefit of the Holders of Disputed Claims, Administrative Claims, Non-Tax Priority
     Claims, Administrative Convenience Claims, or other Claims which have not been
     Allowed, in each case pending the allowance thereof. Each Distribution Reserve Account
     may be segregated by Class or, as applicable, by Administrative Claims, Non-Tax Priority
     Claims, Administrative Convenience Claims, or other Claims. A Holder of a Claim will
     not be entitled to receive or recover any amount in excess of the amount provided in the
     Distribution Reserve Account to pay such Claim unless permitted by a Final Order. As
     stated above, nothing in the Plan will be deemed to entitle the Holder of a Disputed Claim
     to post-petition interest on such Claim, if Allowed, unless otherwise required under the
     Plan.

             (ii)    The amount of any Cash allocable to, or retained on account of Claims in
     the Distribution Reserve Accounts for those Claims that are to be paid in full under the
     Plan shall be equal to the lesser of (a) the amount of such Claim as estimated pursuant to
     the procedure in section 10.06(b) of the Plan; (b) the amount of such Claim as asserted by
     the Holder; or (c) an amount to be agreed upon between the Debtor and the Holder of such
     Claim. The amount of any Cash allocable to, or retained on account of, any other Claims
     in the Distribution Reserve Accounts shall be as reasonably determined by the Debtor from
     time to time in accordance with the reasonable discretion of the Debtor, subject to all other
     terms and conditions of the Plan.

        (d)     Distributions After Allowance of Claims. Distributions to each Holder of a
Claim that is the subject of a Distribution Reserve Account, to the extent it becomes an Allowed
Claim, will be made in accordance with the provisions of the Plan that govern Distributions to
such Holders of Claims in the applicable Class. Unless otherwise provided in the Plan, as
promptly as practicable after the date on which such Claim becomes an Allowed Claim, and in
any event not later than ten (10) Business Days after such Claim becomes an Allowed Claim,
the Debtor shall distribute to the Holder thereof from the applicable Distribution Reserve
Account, if any, any Distribution that would have been made to such Holder had its Claim been
an Allowed Claim on the date that Distributions were previously made to Holders of Allowed
Claims in the applicable Class, without interest (except as otherwise provided by the Plan) and
net of any setoff and/or any required withholding of applicable taxes. After all such Claims have
been resolved as may be required by a Final Order or other final resolution, any remaining Cash
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in a relevant Distribution Reserve Account shall be distributed in accordance with the other
provisions of the Plan.

       (e)     Allowance of Claims Subject to Bankruptcy Code Section 502(d). Allowance
of Claims will in all respects be subject to the provisions of Bankruptcy Code section 502(d),
except as provided by a Final Order or a settlement among the relevant parties.

        10.07.      Distributions Under the Plan

       (a)     Means of Cash Payment. Except as otherwise provided in the Plan, Cash
payments made pursuant to the Plan shall be in U.S. dollars and may be made, at the option of
and in the sole discretion of the Debtor, by checks drawn on or wire transfers from a domestic
bank; provided, that in the case of foreign Holders of Allowed Claims, Cash payments may be
made, at the option of and in the sole discretion of the Debtor, in such currency and by such
means as are necessary or customary in a particular jurisdiction.

        (b)     Delivery of Distributions. All Distributions to any Holder of an Allowed Claim
shall be made by the Distribution Agent at the address of each such Holder as set forth on the
proof of Claim filed by such Holder (or at the last address of such a Holder known to the Debtor
if no proof of Claim is filed or if the Debtor has been notified in writing of a change of address).
If any Holder’s Distribution is returned as undeliverable, no further Distributions to such Holder
shall be made unless and until the Debtor is notified in writing of such Holder’s then current
address, at which time all missed Distributions shall be made to such Holder without interest.
Any Holder of an Allowed Claim whose Distribution is undeliverable must make demand for
such Distribution to the Debtor in writing on or before 120 days after the date such undeliverable
Distribution was initially made, after which the Distribution shall be retained by the Debtor for
Distribution to other Holders of Claims pursuant to the terms of the Plan, and any claim by such
intended recipient with respect to such undeliverable Distribution shall be discharged and forever
barred. The Debtor may employ or contract with other Persons as reasonably determined by the
Debtor to assist in or make the Distributions required under the Plan. To the extent that the
Debtor is required by applicable law to file information returns regarding payments to
creditors with taxing authorities including, but not limited to, the Internal Revenue
Service, the Debtor shall obtain an executed Internal Revenue Service Form W-9 (W-8 for
non-US entities and individuals) from any or all Holders of a Claim prior to making any
Distribution. Should any Holder of a Claim not provide the Debtor with such document
within 60 days of receipt of the request for a W-9 or W-8, as applicable, then the Debtor
shall provide written notice to such Holder of the failure to provide a W-9 or W-8, as
applicable, and 30 additional days to provide such information. Should any Holder of a
Claim not timely provide an executed W-9 or W-8, as applicable, within the ninety (90) day
period referenced above, the Debtor may file an objection to the Claim of such non-
responding Holder based on the non-responding Holder’s failure to provide the W-9 or
W-8 (with all required information) and shall serve the objection on such non-responding
Holder via first class mail. If the non-responding Holder of the Claim fails to respond to
the objection or fails to provide to the Debtor the W-9 or W-8, as applicable (with all
required information) within thirty (30) days after the objection is filed, the Bankruptcy
Court may disallow such Claim for all purposes and any funds to be paid such Holder of a
disallowed Claim shall be distributed in accordance with the terms of the Plan. The Debtor
shall serve any order disallowing the non- responding Holder’s Claim within five (5)
business days after entry of such order. The Debtor’s right to object to a Claim is limited
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 to the failure of a Holder of a Claim to provide to the Debtor a W-9 or W-8, as applicable.
 The Holder of such Disallowed Claim shall be forever barred from pursuing the Debtor
 for payment of such Claim.

          (c)     Fractional Dollars; De Minimis Distributions. Any other provision of the Plan
 notwithstanding, payments of fractions of dollars will not be made. Whenever any payment of
 a fraction of a dollar under the Plan would otherwise be called for, the actual payment made will
 reflect a rounding of the fraction to the nearest whole dollar (up or down), with half dollars being
 rounded down. No payment of less than twenty-five dollars ($25.00) shall be made with respect
 to any Allowed Claim, and the Debtor shall retain any such payment and shall deposit same into
 a pool for redistribution to other Holders of Allowed Claims in the same Class.

        (d)     Unclaimed Property. Any Distributions that are unclaimed shall be distributed
 by the Debtor to other Holders of Claims pursuant to the terms of the Plan.

        (e)     Payments on Business Days. In the event any payment, Distribution or act under
the Plan is required to be made or performed on a date that is not a Business Day, then the making
of such payment or Distribution or the performance of such act may be completed on or as soon
as reasonably practicable after the next succeeding Business Day but shall be deemed to have
been completed as of the required date.

        (f)     Voting Record Date. As of the Voting Record Date, any applicable books and
records for each of the Classes of Claims as may be maintained by Debtor shall be deemed closed,
and there shall be no further changes made to reflect any new record holders of any Claims. The
Debtor will have no obligation to recognize any transfer or sale of Claims on or occurring after the
Voting Record Date and will be entitled for all purposes herein, and subject to all of the provisions
of the Plan relating to the timing of the allowance of Claims, to recognize and make Distributions
on account of Allowed Claims only to those Holders who are identified as Holders of Claims as
of the Voting Record Date. Except as otherwise provided in a Final Order, the transferees of
Claims that are transferred pursuant to Bankruptcy Rule 3001 prior to the Voting Record Date will
be treated as the Holders of such Claims for all purposes, notwithstanding that any period provided
by Bankruptcy Rule 3001 for objecting to such transfer may not have expired by the Voting Record
Date.

        10.08. Duty to Disgorge Overpayments

        To the extent the Holder of any Allowed Claim receives more than what such Holder is
permitted to receive under the Plan, such Holder shall immediately return such excess payment(s)
to the Debtor, failing which, the Debtor may sue such Holder for the return of the overpayment in
the Bankruptcy Court or any other court of competent jurisdiction.

       10.09 Duties of the Disbursement Agent

       The Disbursement Agent shall make the distributions required under the Plan. The
Disbursement Agent shall be entitled to review the financial information of FSS and the Debtor in
accordance with the terms of the Distribution Agreement.

       10.10 Distribution Agent Expenses

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       The Distribution Agent shall establish a bank account, funded with 30% of the net proceeds
from the sale of non-exempt assets which may be used to fund the expenses of the Distribution
Agent, including payment of the Distribution Agent’s fees, on an ongoing basis.

                                           ARTICLE XI

                       ACCEPTANCE OR REJECTION OF THE PLAN

       11.01. Impaired Classes Entitled to Vote

       Each impaired Class entitled to vote to accept or reject the Plan will vote separately. A
Holder of a Claim or Interest as to which an objection has been filed and that has not been
temporarily allowed for purposes of voting on the Plan may not vote. A Holder of a contingent or
unliquidated Claim may vote on the Plan in an amount based on the portion, if any, of the Claim
shown as non-contingent, liquidated, and undisputed in the Schedules, or equal to $1.00 if not so
shown.

       11.02. Acceptance by an Impaired Class

       A Class of Claims that is entitled to vote to accept or reject the Plan shall have accepted
the Plan if it is accepted by at least two-thirds (2/3) in amount and more than one-half (1/2) in
number of the Allowed Claims in such Class that have voted on the Plan. Any Ballot that is not
properly completed and timely received by the Balloting Deadline will not be counted.

        11.03 Elimination of Vacant Classes. Any Class of Claims that is not occupied as of
the date of commencement of the Confirmation Hearing by the Holder of an Allowed Claim or a
Claim temporarily Allowed under Bankruptcy Rule 3018 shall be deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan and for purposes of determining acceptance
or rejection of the Plan by such Class under section 1129(a)(8) of the Bankruptcy Code.
       11.04. Section 1129(b) Cramdown

        If any impaired Class of Claims fails to accept the Plan in accordance with Bankruptcy
Code section 1129(a), the Debtor will seek confirmation of the Plan by the Bankruptcy Court
pursuant to the “cramdown” provisions in Bankruptcy Code section 1129(b). The Debtor asserts
that the Plan provides for fair and equitable treatment of all Classes of Claims. The Debtor reserves
the right to amend the Plan as may be necessary to obtain confirmation of the Plan under
Bankruptcy Code section 1129(b).

                                      ARTICLE XII
                               RETENTION OF JURISDICTION

       12.01. Jurisdiction

        Until the Bankruptcy Case is closed, the Bankruptcy Court will retain the fullest and most
extensive jurisdiction as is legally permissible under applicable law, including under Bankruptcy
Code sections 105(a) and 1142, including that which is necessary to ensure that the purpose and
intent of the Plan are carried out and to hear and determine all objections thereto that could have
been brought before the entry of the Confirmation Order. The Bankruptcy Court will retain
jurisdiction to hear and determine all Claims against the Debtor and to enforce all Causes of
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Action and any related counterclaims, crossclaims, and/or third-party claims over which the
Bankruptcy Court otherwise has jurisdiction. Nothing contained in the Plan will prevent the
Debtor from taking any action as may be necessary to enforce any Cause of Action that may exist
on behalf of the Debtor and that may not have been enforced or prosecuted by the Debtor.

       12.02. Examination of Claims

        Following the Confirmation Date, the Bankruptcy Court will retain jurisdiction to decide
disputes concerning the classification and allowance of any Claim and the reexamination of Claims
that have been allowed for the purposes of voting, and the determination of any objections as may
be filed to Claims. The failure by the Debtor to object to, or to examine, any Claim for the purposes
of voting will not be deemed a waiver of the Debtor’s right to object to, or to re-examine, such
Claim in whole or in part.

       12.03. Determination of Disputes

        The Bankruptcy Court will retain jurisdiction after the Confirmation Date to determine
(a) all questions and disputes regarding title to the Debtor’s assets, (b) disputes concerning the
allowance of Claims, (c) all Causes of Action, controversies, disputes, or conflicts, whether or not
subject to any pending action, as of the Confirmation Date, to recover property pursuant to the
provisions of the Bankruptcy Code, and (d) all disputes and controversies regarding the operation,
implementation, and interpretation of the Plan, the Confirmation Order, and any agreements that
are identified or implement the Plan or the Confirmation Order.

       12.04. Additional Purposes

        Under Bankruptcy Code sections 105(a) and 1142, and notwithstanding entry of the
Confirmation Order, occurrence of the Effective Date, and/or substantial consummation of the
Plan, the Bankruptcy Court will retain exclusive jurisdiction over all matters arising out of or
related to the Bankruptcy Case and the Plan to the fullest extent permitted by applicable law,
including but not limited to jurisdiction to:

         (a)     hear and determine any modification of the Plan or the Plan Supplement pursuant
 to Bankruptcy Code section 1127, to cure any defect or omission or reconcile any inconsistency
 in the Plan or any order of the Bankruptcy Court, including the Confirmation Order, in such a
 manner as may be necessary or appropriate to carry out the purposes and effects thereof;

        (b)     hear and determine disputes, issue injunctions, enter and implement other orders
 and take such other actions as may be necessary or appropriate to execute, interpret, implement,
 consummate, or enforce the terms and conditions of the Plan and the transactions contemplated
 thereunder, the Confirmation Order, the Disclosure Statement, or any other order of the
 Bankruptcy Court, or to maintain the integrity of the Plan following confirmation;

        (c)      hear and determine any and all adversary proceedings, motions, applications, and
 contested or litigated matters arising out of or related to the Bankruptcy Case or the Plan;

       (d)     enforce all orders, judgments, injunctions, releases,                   exculpations,
 indemnifications, and rulings entered or approved in the Bankruptcy Case;

         (e)     hear and determine all disputes involving the existence, nature, or scope of the
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discharge, plan defaults, injunctions, releases, exculpations, and indemnifications granted
pursuant to the Plan or the Confirmation Order;

        (f)     hear and determine disputes arising in connection with the execution,
interpretation, implementation, consummation, or enforcement of the Plan, the Confirmation
Order, any transactions, performance or payments provided for or contemplated in the Plan or
the Confirmation Order, or any agreement, instrument or other document governing or relating
to any of the foregoing;

       (g)    construe and apply any findings of fact and/or conclusions of law made in or in
connection with the Confirmation Order;

       (h)     adjudicate matters arising in the Bankruptcy Case, including matters relating to
the formulation and consummation of the Plan;

          (i)    enter any orders, including injunctions, as are necessary to enforce title, rights,
and powers of the Debtor or to impose any limitations, restrictions, terms and conditions on such
title, rights, and powers as the Bankruptcy Court may deem necessary;

       (j)     hear and determine all questions and disputes regarding title to or recovery of the
Debtor’s assets and property of the Debtor;

       (k)     enter a Final Decree closing any or all of the Bankruptcy Case;

        (l)    correct any defect, cure any omission, or reconcile any inconsistency in the Plan,
the Plan Supplement, or the Confirmation Order as may be necessary to carry out the purposes
and intent of the Plan, the Plan Supplement, and the Confirmation Order including the
adjustment of the date(s) of performance under the Plan, the Plan Supplement, and any other
documents related thereto if the Effective Date does not occur as provided herein, so that the
intended effect of the Plan, the Plan Supplement, and such other documents may be substantially
realized thereby;

       (m)     enter, implement or enforce such orders as may be appropriate if the Confirmation
Order is for any reason stayed, reversed, revoked, modified, or vacated;

        (n)    hear and determine all applications for compensation and reimbursement of
expenses of Professionals or any other Person under the Plan or under Bankruptcy Code sections
330, 331, 503(b), 1103 and 1129(a)(4) of the Bankruptcy Code; provided, however, that from
and after the Effective Date, the payment of fees and expenses of professionals retained by the
Debtor shall be made in the ordinary course of business and shall not be subject to approval of
the Bankruptcy Court;

        (o)    hear and determine issues concerning federal tax reporting and withholding that
arise in connection with the confirmation or consummation of the Plan;

       (p)    hear and determine issues concerning state, local and federal taxes in accordance
with Bankruptcy Code sections 346, 505 and 1146;

       (q)     hear and determine all matters regarding the assumption or rejection of Executory
Contracts, including any disputes concerning Rejection Claims or Cure Claims;
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         (r)     hear and determine any objection to any Claim (including any Administrative
  Claim), including the allowance, classification, priority, secured status, compromise, estimation,
  subordination, or payment thereof;

          (s)   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
  secured, unsecured, or subordinated status of any Claim (including any Administrative Claim)
  and to re-examine Claims that have been allowed for purposes of voting;

          (t)     hear and determine any Cause of Action and any collection or settlement matters
  related thereto;

          (u)    hear and determine any disputes or litigation regarding the validity, priority, or
  extent of any Lien and any Claim associated therewith; and

          (v)    hear and to determine any other matter related hereto and not inconsistent with
  the Plan, the Confirmation Order, the Bankruptcy Code, or Title 28 of the United States Code.

       12.05. Failure of the Bankruptcy Court to Exercise Jurisdiction

       If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the
Bankruptcy Case, including the matters set forth in this Article XII, the provisions of this Article
XII shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
any other court having jurisdiction with respect to such matter.

                                           ARTICLE XIII

                                MISCELLANEOUS PROVISIONS

       13.01. General Notices

        Any notice, request, or demand required or permitted to be given in connection with the
Plan shall be (a) in writing, (b) served to the parties and addresses set forth below by certified mail,
return receipt requested, hand delivery, overnight delivery, first class mail, or fax transmission,
and (c) deemed to have been given or made when actually delivered or received:

             -to the Debtor:
               Alexander Jones
               [TBD]

             With a copy to:

             Vickie L. Driver
             Crowe & Dunlevy, P.C.
             2525 McKinnon St., Suite 425
             Dallas, TX 75201
             Telephone: 737.218.6187
             Email: dallaseservice@crowedunlevy.com

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            Shelby A. Jordan
            JORDAN & ORTIZ, P.C.
            500 North Shoreline Blvd., Suite 900
            Corpus Christi, TX 78401
            Telephone: (361) 884-5678
            Email: sjordan@jhwclaw.com

       13.02. Exemption From Transfer Taxes

        Pursuant to Bankruptcy Code section 1146(a), the issuance, transfer, or exchange of
securities or other property under the Plan; the creation, transfer, filing, or recording of any
mortgage, deed of trust, financing statement, or other security interest; or the making, delivery,
filing, or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with the Plan, shall not be subject to any stamp tax, real estate tax, conveyance, filing,
or transfer fees, mortgage, recording, or other similar tax or other government assessment. The
Confirmation Order shall direct all appropriate governmental officials or agents to forgo the
collection of any such tax or assessment and to accept such documents delivered under the Plan
without the imposition or payment of any charge, fee, governmental assessment, or tax.

       13.03. Asserting and Curing Default Under the Plan

        Except as otherwise provided in the Plan, if the Debtor defaults under the provisions of the
Plan (as opposed to default under the documentation executed in implementing the terms of the
Plan), any Creditor or party in interest desiring to assert a default will provide the Debtor and his
counsel with written notice of the alleged default. The Debtor will have thirty (30) days from
receipt of written notice to cure the alleged default. If the default is not cured, any Creditor or
party in interest may then file with the Bankruptcy Court, and serve on the Debtor and his counsel,
a motion to compel compliance with the applicable provision of the Plan, or otherwise seeking
such remedies as may be available to such party in interest under the Bankruptcy Code or other
applicable law. The Bankruptcy Court, on finding a material default, will issue orders compelling
compliance with the pertinent provisions of the Plan, or providing such other relief as the Court
may order. Nothing in the Plan shall be deemed a waiver on the part of any party in interest to
seek to assert any such remedies as described in this Section 13.04 upon default by the Debtor
under the Plan.
        Pursuant to the Opt-In Settlement terms with the Class 5 Electing Plaintiffs, if the Debtor
can make 80% of the minimum payments for a given year, but not 100%, then the remaining
amount for that year may be amortized over the next two years without causing a Plan default.
However, if the Debtor fails to make minimum payments for two (2) years in a row, a Plan default
will have occurred, and parties shall have the remedies as set forth in the preceding paragraph.
Should the Debtor become incapacitated in a way that prevents him from working and he is unable
to make payments, such missed payments may be added to the end of the Plan term, and the Plan
term shall be extended accordingly. If the Debtor, or his personal representative, asserts that he
has become in capacitated under the terms of this provision, he must file a notice with the Court,
which may be objected to by any party in interest, and any dispute over same will be determined
by the Court.

       13.04. Revocation or Withdrawal of the Plan

       The Debtor reserves the right to revoke and/or withdraw the Plan at any time before the
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Confirmation Date. If the Debtor revokes or withdraws this Plan, or if confirmation or the
Effective Date of the Plan does not occur, then the Plan shall be deemed null and void. In such
event, nothing contained herein shall be deemed to constitute a waiver or release of any Claims by
or against the Debtor or any other Person or to prejudice in any manner the rights of the Debtor or
any other Person in any further proceedings involving the Debtor or any other Person.

       13.05. Modification of the Plan

        The Debtor reserves the right to modify the Plan in writing at any time before the
Confirmation Date, provided that (a) the Plan, as modified, meets the requirements of Bankruptcy
Code sections 1122 and 1123 and (b) the Debtor shall have complied with Bankruptcy Code
section 1125. The Debtor further reserves the right to modify the Plan in writing at any time after
the Confirmation Date and before substantial consummation of the Plan, provided that (a) the Plan,
as modified, meets the requirements of Bankruptcy Code sections 1122 and 1123, (b) the Debtor
shall have complied with Bankruptcy Code section 1125, and (c) the Bankruptcy Court, after notice
and a hearing, confirms the Plan as modified, under Bankruptcy Code section 1129. A Holder of
a Claim that has accepted or rejected the Plan shall be deemed to have accepted or rejected, as the
case may be, such Plan as modified, unless, within the time fixed by the Bankruptcy Court, such
Holder changes its previous acceptance or rejection.

       13.06. Computation of Time

        In computing any period of time prescribed or allowed by the Plan, unless otherwise set
forth herein, the provisions of Bankruptcy Rule 9006(a) shall apply.

       13.07. Due Authorization

        Each and every Holder of an Allowed Claim that receives a Distribution under the Plan
warrants that it is authorized to accept, in consideration of such Claim, the Distributions provided
for in the Plan and that there are no outstanding commitments, agreements, or understandings,
express or implied, that may or can in any way defeat or modify the rights conveyed or obligations
undertaken by it under the Plan.

       13.08. Implementation

        The Debtor may execute such documents, take such other actions, and perform all acts
necessary or appropriate to implement the terms and conditions of the Plan without the need for
further Bankruptcy Court approval.

       13.09. Execution of Documents

       Upon application by the Debtor, the Bankruptcy Court may issue an order directing any
necessary party to execute or deliver, or to join in the execution or delivery of, any instrument or
document, and to perform any act, necessary for the consummation or implementation of the Plan.
       13.10. Bankruptcy Restrictions

        From and after the Effective Date with respect to the Debtor, the Debtor shall no longer be
subject to the restrictions and controls provided by the Bankruptcy Code (e.g., sections 363 or 364)
except as the Bankruptcy Code may specifically provide otherwise. No monthly operating reports
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will be filed after the Effective Date; however, the Debtor shall provide the U.S. Trustee such
financial reports as may be required by law.

       13.11. Limited Plan Exculpation.

         None of Debtor’s court employed professionals shall have or incur any liability to the
Debtor or any Holder of a Claim for any act or omission in connection with, related to, or arising
out of, the Bankruptcy Case, negotiations regarding or concerning the Disclosure Statement or the
Plan or any contract, instrument, release, or other agreement or document created or entered into
in connection with the Disclosure Statement or the Plan, the filing of the Bankruptcy Case, and the
pursuit of confirmation of the Plan. Nothing contained in this paragraph shall be deemed to
exculpate any party identified herein from any conduct post- Effective Date.

       13.12. Ratification

      The Confirmation Order will ratify all transactions effected by the Debtor during the
pendency of the Bankruptcy.

       13.13. Integration Clause.

        This Plan is a complete and integrated statement of the binding agreement among the
Debtor, the Holders of Claims, and other parties in interest upon the matters herein. Parol evidence
shall not be admissible in an action regarding the Plan or its provisions.

       13.14     Interpretation

        Unless otherwise specified, all Section, Article and exhibit references in the Plan are to the
respective Section in, Article of or exhibit to the Plan, as the same may be amended, waived, or
modified from time to time. The headings of the Articles, paragraphs, and Sections of the Plan
and table of contents in the Plan are inserted for convenience of reference only and shall not limit
or otherwise affect the provisions of the Plan or its interpretation. Nothing herein shall be deemed
as a judicial admission by the Debtor. Likewise, any defined terms in the Plan not defined shall
have the same meaning as that term has under the Bankruptcy Code.

       13.15 Severability of Plan Provisions

       If any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable before the Confirmation Date, the Bankruptcy Court, upon the request of the Debtor,
will have the power to alter or interpret the Plan to make such term or provision valid or
enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and the term or provision will then be
applicable as altered or interpreted. Notwithstanding any such holding, alteration, or interpretation,
the remainder of the terms and provisions of the Plan will remain in full force and effect and will
in no way be affected, impaired, or invalidated by the holding, alteration, or interpretation,
provided that the Debtor consents. The Confirmation Order will constitute a judicial determination
and will provide that each term and provision of the Plan, as it may have been altered or interpreted
in accordance with the foregoing, is valid and enforceable pursuant to its terms.



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             13.16 Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
  Code and the Bankruptcy Rules), the laws of the State of Texas shall govern the construction and
  implementation of the Plan and any agreements, documents, and instruments executed in
  connection with the Plan.

                                          ALEXANDER E. JONES

                                           /s/ Alexander E. Jones
                                          Alexander E. Jones
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